Case 0:04-cr-60001-MGC Document 1244 Entered on FLSD Docket 10/16/2007 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 04-60001-CR-COOKE/Brown

   UNITED STATES OF AMERICA

                          Plaintiff,

   vs.

   ADHAM AMIN HASSOUN,
   KIFAH WAEL JAYYOUSI and
   JOSE PADILLA, et al.,

                     Defendants.
   ______________________________           /

   ORDER GRANTING IN PART AND DENYING IN PART GOVERNMENT’S MOTION
       FOR EXTENSION OF TIME TO RESPOND TO POST-TRIAL MOTIONS

          THIS CAUSE came before the Court upon the government’s Motion for Extension of Time

   to File Post-Trial Motions [D.E. 1242]. Having considered the motion, and being fully advised in the

   premises, it is hereby ORDERED AND ADJUDGED that:

          1.       The government’s motion is GRANTED IN PART AND DENIED IN PART.

          2.      The government shall file its response(s) to the defendants’ motions for new trial and

                  motions for acquittal on or before October 29, 2007.

          DONE AND ORDERED in Chambers at the United States Courthouse in Miami-Dade

   County, Florida this 16th day of October, 2007.




   Copies furnished to: All counsel of Record
